
LYONS, Judge,
delivered the opinion of the Court.
After stating the case, he said, that the Court considered the declaration of the executor, that he sold only as his testator held, as. imposing on the purchaser the necessity of enquiring into .the state of the property. That there having been no refusal to inform on the part of the executor, or any evasion whatever, the Court did not consider him, after his general declaration, as having been guilty of any fraudulent concealment which could affect the contract. That Gravelly run ought, as there was no testimony to the' contrary, to be considered as dividing the lot equally: And, that *the agreement to confess judgment, in a suit in which the fraud of the contract, -had there been any, was examinable, and the declaration of the defendant at law, on that occasion, that he was satisfied, made after, he must be presumed to have been acquainted with his equity, amount to a confirmation of the contract, which ought to bind him’.
The decree was affirmed
